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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   United States,                                      Case No.: 21-CR-1430-JLS
12                                      Plaintiff,
                                                         Order Continuing Motion
13   v.                                                  Hearing/Trial Setting
14   Jonathan Franco,
15                                    Defendant.
16
17           FOR GOOD CAUSE HAVING BEEN SHOWN, it is hereby ordered that the
18   motion hearing set for November 19, 2021 at 1:30 p.m., in the above entitled case, be
19   continued to December 10, 2021 at 1:30 p.m.
20           IT IS FURTHER ORDERED THAT the time from now until December 10,
21   2021, is excludable under the Speedy Trial Act, Title 18 U.S.C. § 3161(7)(A) and (B)
22   (I), in the interest of justice and to allow new counsel the necessary time to review the
23   case documents and discovery.
24           SO ORDERED.
25   Dated: November 8, 2021
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